                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE



SHAWNELLIAS BURGESS                                         )
                                                            )
                                                            )
                                                            )
                                                            )
               Plaintiff,                                   )
                                                            )
                                                            )
                                                            )
                     v.                                            Case No. 3:14-cv-1676
                                                            )
                                                            )
                                                                   Judge Haynes
                                                            )
ALLY BANK                                                   )
                                                            )
                                                            )


                                    ENTRY OF JUDGMENT
               Defendant.


                 Judgment is hereby entered for purposes of Rule 58(a) and/or Rule
  79(a) of the Federal Rules of Civil Procedure on March 9, 2015.



                                                    KEITH THROCKMORTON, CLERK

                                                    s/ Hannah B. Blaney




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